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O PS 8
(5/04)


                               UNITED STATES DISTRICT COURT
                                                                        for
                                               Eastern District of Washington


U.S.A. vs.                 Ashley Britany Arredondo                                     Docket No.                2:13CR00008-007


                                 Petition for Action on Conditions of Pretrial Release

        COMES NOW, Melissa Hanson, pretrial services officer, presenting an official report upon the conduct of
defendant, Ashley Britany Arredondo, who was placed under pretrial release supervision by the Honorable U.S. Magistrate
Judge Cynthia Imbrogno sitting in the Court at Spokane, Washington, on the 6th day of March 2013, under the following
conditions:

Standard Condition #1: Defendant shall not commit an offense in violation of Federal, state or local law. Defendant shall
advise the supervising pretrial services officer and defense counsel within 1 business day of any charge, arrest, or contact
with law enforcement. Defendant shall not work for the United States government or any Federal or state law enforcement
agency, unless the defendant first notifies the supervising pretrial services officer in the captioned matter.

Special Condition #19: Refrain from any use of alcohol.

Special Condition: On August 27, 2013, the defendant’s release conditions were modified to include a curfew of 10 pm -
8 am.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
                                      (If short insert here; if lengthy write on separate sheet and attach.)


Violation #1: On or about January 7, 2014, the defendant was arrested for driving under the influence of alcohol.

Violation #2: On or about January 7, 2014, the defendant was arrested for third degree assault on a law enforcement officer.

Violation #3: On or about January 7, 2014, the defendant was arrested for hit and run on an unattended vehicle.

Violation #4: On or about January 7, 2014, the defendant admitted to arresting officers that she consumed alcoholic
beverages on that same day.

Violation #5: On or about January 7, 2014, the defendant was arrested at approximately 3:06 a.m. Ms. Arredondo admitted
to officers that she had consumed alcohol at work after her shift ended. She then stated that she had been drinking at another
establishment after leaving work.

                             PRAYING THAT THE COURT WILL ORDER A WARRANT

                                                                                           I declare under the penalty of perjury
                                                                                           that the foregoing is true and correct.
                                                                                           Executed on:        January 7, 2014
                                                                               by          s/Melissa Hanson
                                                                                           Melissa Hanson
                                                                                           U.S. Pretrial Services Officer
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THE COURT ORDERS

[ ]      No Action
[ 9]     The Issuance of a Warrant
[ ]      The Issuance of a Summons
[ ]      Other


                                                               Signature of Judicial Officer

                                                                 +BOVBSZ 
                                                               Date
